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                         UNITED STATES DISTRICT COURT

                         MIDDLE DISTRICT OF LOUISIANA

    STEPHEN M. GRUVER AND                                         CIVIL ACTION
    RAE ANN GRUVER, individually and
    on behalf of MAXWELL R. GRUVER,
    deceased                                                      18-772-SDD-EWD

    VERSUS

    STATE OF LOUISIANA THROUGH THE
    BOARD OF SUPERVISORS OF
    LOUISIANA STATE UNIVERSITY AND
    AGRICULTURAL AND MECHANICAL
    COLLEGE, et al.


                                       RULING

        This matter is before the Court on the Second Motion to Dismiss First Amended

Complaint Pursuant to Rule 12(b)(6)1 filed by Defendant, Dalton Babineaux. Plaintiffs,

Stephen M. Gruver and Rae Ann Gruver, individually and on behalf of their deceased son

Maxwell R. Gruver, filed an Opposition2 to this motion. For the same reasoning and

analysis set forth in this Court’s prior Ruling dated January 4, 2021,3 the Second Motion

to Dismiss First Amended Complaint Pursuant to Rule 12(b)(6)4 is denied.

        IT IS SO ORDERED.

        Baton Rouge, Louisiana, this 25th day of March, 2021.


                                         S
                                     CHIEF JUDGE SHELLY D. DICK
                                     UNITED STATES DISTRICT COURT
                                     MIDDLE DISTRICT OF LOUISIANA

1
  Rec. Doc. No. 232.
2
  Rec. Doc. No. 233.
3
  Rec. Doc. No. 241.
4
  Rec. Doc. No. 232.
Document Number: 66276
